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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                    Chapter 11

 AGWAY FARM & HOME SUPPLY, LLC1                            Case No. 22-10602 (JKS)

                          Debtor.                          Objection Deadline: September 15, 2022 at 4:00 p.m.
                                                           Hearing Date: September 22, 2022 at 10:00 a.m.

NOTICE OF DEBTOR’S MOTION FOR ENTRY OF AN ORDER: (I) (A) APPROVING
BIDDING PROCEDURES AND PROTECTIONS IN CONNECTION WITH A SALE OF
   THE SALE OF CERTAIN OF THE DEBTOR’S ASSETS FREE AND CLEAR OF
   LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS; (B) SCHEDULING AN
 AUCTION AND SALE HEARING; (C) APPROVING THE FORM AND MANNER OF
    NOTICE THEREOF; AND (D) GRANTING RELATED RELIEF; AND (II) (A)
AUTHORIZING SALE OF DEBTOR’S INTELLECTUAL PROPERTY AND CERTAIN
  EQUIPMENT FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND
          OTHER INTERESTS; AND (B) GRANTING RELATED RELIEF

        PLEASE TAKE NOTICE that on September 1, 2022, the above-captioned debtor and
debtor in possession (the “Debtor”) filed the Debtor’s Motion for Entry of an Order: (I) (A)
Approving Bidding Procedures and Protections in Connection with a Sale of the Sale of Certain
of the Debtor’s Assets Free and Clear of Liens, Claims, Encumbrances and Interests; (B)
Scheduling an Auction and Sale Hearing; (C) Approving the Form and Manner of Notice Thereof;
and (D) Granting Related Relief; and (II) (A) Authorizing Sale of Debtor’s Intellectual Property
and Certain Equipment Free and Clear of Liens, Claims, Encumbrances, and Other Interests; and
(B) Granting Related Relief (the “Motion”) with the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”).

       PLEASE TAKE FURTHER NOTICE that responses, if any, to the Motion must be in
writing, in conformity with the Federal Rules of Bankruptcy Procedure and the Local Rules of the
United States Bankruptcy Court for the District of Delaware, filed with the Bankruptcy Court and
served upon the undersigned counsel so as to be received on or before September 15, 2022 at
4:00 p.m. (ET) (the “Objection Deadline”). At the same time, you must also serve a copy of the
response upon the Debtor’s counsel:




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     The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.



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 Alan J. Friedman, Esquire                            Jeffrey R. Waxman, Esquire
 Melissa Davis Lowe, Esquire                          Brya M. Keilson, Esquire
 Max Casal. Esquire                                   MORRIS JAMES LLP
 SHULMAN BASTIAN FRIEDMAN & BUI LLP                   500 Delaware Avenue, Suite 1500
 100 Spectrum Center Drive, Suite 600                 Wilmington, DE 19801
 Irvine, CA 92618                                     Telephone: (302) 888-6800
 Telephone: (949) 340-3400                            Facsimile: (302) 571-1750
 Facsimile: (949) 340-3000                            E-mail: jwaxman@morrisjames.com
 E-mail: afriedman@shulmanbastian.com                 E-mail: bkeilson@morrisjames.com
 E-mail: mlowe@shulmanbastian.com
 E-mail: mcasal@shulmanbastian.com

        PLEASE TAKE FURTHER NOTICE THAT a hearing on the Motion is scheduled for
September 22, 2022 at 10:00 a.m. prevailing Eastern Time before the Honorable J. Kate
Stickles, United States Bankruptcy Court for the District of Delaware, 824 North Market Street,
5th Floor, Courtroom 6, Wilmington, Delaware 19801. Please note that due to COVID-19, and in
accordance with this Court’s Sixth Amended Order Governing The Conduct Of Hearings Due to
Coronavirus Disease 2019 (COVID-19) And Reconstituting Operations, the hearing shall be
conducted electronically.

     IF NO OBJECTIONS ARE TIMELY FILED, SERVED, AND RECEIVED IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN CONNECTION WITH SUCH PLEADINGS WITHOUT FURTHER
NOTICE OR HEARING.




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   Dated: September 1, 2022          MORRIS JAMES LLP
   Wilmington, Delaware
                                     /s/ Brya M. Keilson
                                     Jeffrey R. Waxman (DE Bar No. 4159)
                                     Brya M. Keilson (DE Bar No. 4643)
                                     500 Delaware Avenue, Suite 1500
                                     Wilmington, DE 19801
                                     Telephone: (302) 888-6800
                                     Facsimile: (302) 571-1750
                                     E-mail: jwaxman@morrisjames.com
                                     E-mail: bkeilson@morrisjames.com

                                              and

                                     SHULMAN BASTIAN FRIEDMAN & BUI LLP
                                     Alan J. Friedman (admitted pro hac vice)
                                     Melissa Davis Lowe (admitted pro hac vice)
                                     Max Casal (admitted pro hac vice)
                                     100 Spectrum Center Drive, Suite 600
                                     Irvine, CA 92618
                                     Telephone: (949) 340-3400
                                     Facsimile: (949) 340-3000
                                     E-mail: afriedman@shulmanbastian.com
                                     E-mail: mlowe@shulmanbastian.com
                                     E-mail: mcasal@shulmanbastian.com

                                     Counsel to the Debtor and Debtor in Possession




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